Return Date: No return date scheduled

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12-Person Jury

Hearing Date: 10/13/2020 9:30 AM - 9:30 AM
Courtroom Number: 2305 FILED
Location: Distri
ocation: District 1 Court 6/12/2020 5:51 PM

FILED DATE: 6/12/2020 5:51 PM 2020CH04554

Cook County, IL

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN

CIRCUIT CLERK
COUNTY DEPARTMENT, CHANCERY DIVISION COOK COUNTY. IL

. 2020CH04554
FREDY SOSA, individually and on behalf of Case No.:
all others similarly situated, 2020CH04554 9474043
| Plaintiff,
v.

ONFIDO, INC., a Delaware corporation,

Defendant.

 

 

CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff Fredy Sosa brings this Class Action Complaint and Demand for Jury Trial
against Defendant Onfido, Inc. to put a stop to its unlawful collection, use, and storage of
Plaintiff's and putative Class members’ sensitive biometric data. Plaintiff, for this Class Action
Complaint, alleges as follows upon personal knowledge as to himself and his own acts and
experiences and, as to all other matters, upon information and belief.

NATURE OF THE ACTION

1. Defendant Onfido markets and sells biometric software that purports to help
businesses identify and register consumers.

2. Onfido’s software is becoming increasingly popular in the digital era, as online
business often requires consumers to establish their identities by submitting photographs of their
driver’s licenses or identification cards along with photographs of their faces. Onfido developed
proprietary facial recognition software that can be used to scan those uploaded photographs,
locate consumers’ faces, extract unique biometric identifiers associated with the consumers’
faces, and determine whether the photographs match uploaded identification cards, other photos

in its database, the biometric data of known masks, or in some instances, on information and
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belief, third party and government databases.

3. Business can integrate Onfido’s software into their own websites so that they can
establish a consumer’s identity—for example, during a sign up or registration process—without
having to send the consumer to another location or webpage. In other words, Onfido’s software
is designed to be embedded into a business’s website in such a way that that consumers will
likely be entirely unaware they are interacting with and providing their sensitive information to
an unknown, third-party company, Onfido.

4. Utilizing biometric identification software exposes consumers to serious and
irreversible privacy risks, especially here where it is not clear to consumers that Onfido is
collecting their biometric identifiers.

5. Recognizing the need to protect its citizens from situations like these, Illinois
enacted the Biometric Information Privacy Act, 740 ILCS 14/1, et seg. (“BIPA”), specifically to
regulate companies that collect and store Illinois citizens’ biometrics.

6. Despite this law, Onfido disregards consumers’ statutorily protected privacy
rights:and unlawfully collects, stores, and uses, their biometric data in violation of the BIPA.
Specifically, Onfido has violated (and continues to violate) the BIPA because it did not:

° Properly inform Plaintiff and the Class members in writing of the specific purpose
and length of time for which their biometric data were being collected, stored, and
used, as required by the BIPA;

° Provide and make known to Plaintiff and the Class members a publicly available
retention schedule and guidelines for permanently destroying Plaintiffs and the

Class’s biometric data, as required by the BIPA; nor

e Receive a written release from Plaintiff or the members of the Class to collect,
capture, or otherwise obtain their biometric data, as required by the BIPA.

7: Accordingly, this Complaint seeks an Order: (i) declaring that Defendant’s

conduct violates the BIPA; (ii) requiring Defendant to cease the unlawful activities discussed
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herein; and (iii) awarding damages to Plaintiff and the proposed Class.

PARTIES
8. Plaintiff Fredy Sosa is a natural person and citizen of the State of Illinois and
Cook County.
9. Defendant Onfido, Inc. is a Delaware corporation existing under the laws of the

State of Delaware with its principal place of business located at 3 Finsbury Avenue, London
EC2M 2PA. Onfido does business in this County, the State of Illinois, and across the country.
JURISDICTION AND VENUE

10. This Court has jurisdiction over Defendant pursuant to 735 ILCS 5/2-209 because
Defendant conducts business transactions in Illinois and has committed tortious acts in Illinois.
Defendant has hired or sought to hire individuals to work in the State of Illinois to market and
distribute its biometric identification software. On information and belief, Defendant has
contracted with Illinois-based businesses to provide its biometric identification software with the
intention and purpose that it would be used to collect biometric data from Illinois residents.
Defendant is and has been aware that it is collecting biometric data from Illinois residents,
without complying with BIPA, throughout the class period. Additionally, this Court has
jurisdiction over Plaintiff because he is a resident of the State of Illinois.

Il. | Venue is proper in Cook County because Defendant is a nonresident of Illinois,

and the conduct that give rise to this action occurred in Cook County.

FACTUAL BACKGROUND
I. The Biometric Information Privacy Act.
12, In the early 2000s, major national corporations started using Chicago and other

locations in Illinois to test “new [consumer] applications of biometric-facilitated financial
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transactions, including finger-scan technologies at grocery stores, gas stations, and school
cafeterias.” 740 ILCS 14/5(b). Given its relative infancy, an overwhelming portion of the public
became weary of this then-growing, yet unregulated, technology. See 740 ILCS 14/5.

13. In late 2007, a biometrics company called Pay By Touch—which provided major

retailers throughout the State of Illinois with fingerprint scanners to facilitate consumer

transactions—filed for bankruptcy. That bankruptcy was alarming to the Illinois Legislature
because suddenly there was a serious risk that millions of fingerprint records—which, are unique
biometric identifiers, can be linked to people’s sensitive financial and personal data—could now
be sold, distributed, or otherwise shared through the bankruptcy proceedings without adequate
protections for Illinois citizens. The bankruptcy also highlighted the fact that most consumers
who had used that company’s biometric scanners were completely unaware that the scanners
were not actually transmitting data to the retailer who deployed the scanner, but rather to the
now-bankrupt company, and that their unique biometric identifiers could now be sold to
unknown third parties.

14. Recognizing the “very serious need [for] protections for the citizens of IIlinois
when it [came to their] biometric information,” Illinois enacted the BIPA in 2008. See Illinois
House Transcript, 2008 Reg. Sess. No. 276; 740 ILCS 14/5.

15. The BIPA is an informed consent statute which achieves its goal by making it
unlawful for a company to, among other things, “collect, capture, purchase, receive through
trade, or otherwise obtain a person’s or a customer’s biometric identifiers or biometric

information, unless it first:

(1) informs the subject . . . in writing that a biometric identifier or biometric
information is being collected or stored;

(2) informs the subject . . . in writing of the specific purpose and length of term
for which a biometric identifier or biometric information is being collected,
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stored, and used; and

(3) receives a written release executed by the subject of the biometric identifier or
biometric information.”

740 ILCS 14/15(b).

16. Biometric identifiers include retina and iris scans, voiceprints, scans of hand and
fingerprints, and—most importantly here—face geometry. See 740 ILCS 14/10. Biometric
information is separately defined to include any information based on an individual’s biometric
identifier that is used to identify an individual. See id.

17. The BIPA also establishes standards for how companies in possession of
biometric identifiers and biometric information must handle them. See 740 ILCS 14/15(c)-(d).
For instance, the BIPA requires companies to develop and comply with a written policy—made
available to the public—establishing a retention schedule and guidelines for permanently
destroying biometric identifiers and biometric information when the initial purpose for collecting
such identifiers or information has been satisfied or within three years of the individual’s last
interaction with the company, whichever occurs first. 740 ILCS 14/15(a).

18. Ultimately, the BIPA is simply an informed consent statute. Its narrowly tailored
provisions place no absolute bar on the collection, sending, transmitting or communicating of
biometric data. For example, the BIPA does not limit what kinds of biometric data may be
collected, sent, transmitted, or stored. Nor does the BIPA limit to whom biometric data may be
collected, sent, transmitted, or stored. The BIPA simply mandates that entities wishing to engage
in that conduct must make proper disclosures and implement certain reasonable safeguards.

Il. Onfido Violates the Biometric Information Privacy Act.
19. By the time the BIPA passed through the Illinois Legislature in mid-2008, many

companies who had experimented with using biometric data as an authentication method stopped
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doing so, at least for a time. That is because Pay By Touch’s bankruptcy, described in Section I
above, was widely publicized and brought attention to consumers’ discomfort with the use of
their biometric data.

20. Unfortunately, Onfido failed to address these concerns and it continues to collect,
store, and use consumers’ biometric data in violation of the BIPA by using facial recognition
technology.

21. | Onfido provides biometric identification software intended to be seamlessly
incorporated into its customers’ products and mobile apps, without clear notice to consumers that
Onfido is even involved in the process (or how it is involved). According to Onfido’s
representations to businesses, “[i]dentity verification technology helps establish the legitimate
online identity of the people accessing your product or service.” Onfido claims that use of its
software will “create trust and integrity” in its customer’s online communities, and, for
businesses first requiring user identification, Onfido’s software will “make onboarding a
breeze.”! Indeed, various businesses have partnered with Onfido for this purpose.

22. A consumer establishing his or her identity through Onfido must upload a copy of
his or her identification (such as a driver’s license, state identification, or a passport) and a photo
of his or her face.

23. Onfido uses biometric facial recognition to establish consumers’ identities.
According to Onfido, “we take a new approach to identity—combining a person’s ID with their
physical biometrics ... Using advanced facial scanning, Onfido then compares their facial

biometrics to the photo on the ID, and generates a score based on the similarity of the faces.”

 

: Identity verification | Onfido, https://onfido.com/use-cases/identity-verification (last visited June
12, 2020).

: Onfido | Biometric Verification, https://onfido.com/solutions/biometric-verification (last visited
June 12, 2020).
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24.  Onfido states that its biometric software “extract[s] and compare[s] numerical
biometric data from facial images to understand whether two faces are likely to be a match.”

25. Onfido also checks whether uploaded facial images show signs of fraud by, for
example, comparing a person’s numerical biometric data to the biometric data of known masks.

26. Consumers establishing their identities through a mobile app or a website using
Onfido’s identity software are not made aware that the process relies on biometric technology
rather than, for example, a real person conducting the identification process or any other
confirmation method.

27; What’s worse, Onfido has also created numerous, potentially massive databases
of biometric identifiers obtained from consumers. Onfido calls these databases “Known Faces.”
The Known Faces database allows Onfido’s customers to compare a consumer’s identity against

an individual already in its database and flag consumers who have already been identified:

The Known Faces report compares a specific applicant’s likeness in their most

recent live photo to live photos from all applicants in your Onfido account database.

It alerts you to faces which have already been through your identity verification

flow, so you can catch repeat identity fraud attempts, and help confused users who

may have forgotten they already registered with you to recover their accounts.*

28. As such, the biometric templates obtained by Onfido may be compared against
hundreds or even thousands of other templates as part of the identification process.

29. Although Onfido is well aware of Illinois consumers’ privacy rights under

BIPA—stating on its website that “[c]onsent and transparency must be paramount concerns”

 

3 Driver registration, verification and onboarding | Onfido, https://onfido.com/privacy/ (last visited

June 12, 2020).
4 Onfido | Identity Verification | Documentation, https://documentation.onfido.com/#known-faces-

report-beta (last visited June 12, 2020).
° Navigating Al regulations as a fraud expert, https://onfido.com/resources/blog/navigating-ai-
regulations-as-a-fraud-expert (last visited June 12, 2020).
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when collecting consumers’ biometric identifiers—it failed to inform consumers of the complete
purposes for which it collects their sensitive biometric data or to whom the data is disclosed, if at
all.

30. Onfido similarly failed to provide consumers with a written, publicly available
policy identifying its retention schedule, and guidelines for permanently destroying consumers’
facial geometries when the initial purpose for collecting or obtaining their facial geometries is no
longer relevant, as required by the BIPA. A consumer who established his or her identity through
Onfido does so without any knowledge of when his or her biometric identifiers will be removed
from Onfido’s databases—or if they ever will be.

31. The Pay By Touch bankruptcy that catalyzed the passage of the BIPA highlights
why conduct such as Onfido’s—where the consumers upload their photos but are not aware of
the full extent of the reasons they are doing so, nor are they informed who else is receiving this
data—is so dangerous. That bankruptcy spurred IIlinois citizens and legislators to reach a critical
conclusion: it is crucial for people to understand that (1) they are providing biometric data in the
first place; (2) who exactly is collecting it; (3) who it will be transmitted to; (4) for what
purposes; and (5) for how long it will be kept. But Onfido disregards these obligations, and
instead unlawfully collects, stores, and uses consumer’s biometric identifiers and information
without proper consent.

32. Ultimately, Onfido’s conduct disregards consumers’ statutorily protected privacy
rights in violation of the BIPA.

FACTS SPECIFIC TO PLAINTIFF SOSA
33. Plaintiff Fredy Sosa is a member of an online marketplace where consumers buy

and sell goods. In order to increase one’s reputation and trustworthiness in the online
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marketplace, consumers are strongly encouraged to register their identities.

34. For this purpose, the online marketplace partnered up with Onfido to establish its
users’ identities.

35. On or around April 2020, Plaintiff Sosa established his identity through the online
marketplace’s mobile application by uploading a photograph of his driver’s license and a
photograph of his face. Onfido subsequently used biometric identification technology to extract
his biometric identifiers and compare the two photographs.

36. Onfido did not inform Plaintiff Sosa that it would collect, store, or use his
biometric identifiers derived from his face. In fact, there was almost no notice whatsoever that
Onfido is even involved in the process.

37. In addition, Onfido never informed Plaintiff Sosa of any biometric data retention
policy it developed, nor whether it will ever permanently delete the biometric identifiers derived
from his face.

38. Plaintiff Sosa never signed a written release allowing Onfido to collect, use, or
store his biometric identifiers derived from his face.

39. Plaintiff Sosa has, therefore, been exposed to the risks and harmful conditions
created by Onfido’s violations of the BIPA alleged herein.

40. Plaintiff Sosa seeks damages under BIPA as compensation for the injuries Onfido
has caused.

CLASS ALLEGATIONS

41. Class Definition: Plaintiff Fredy Sosa brings this action pursuant to 735 ILCS

5/2-801 on behalf of himself and a Class of similarly situated individuals, defined as follows:

All residents of the State of Illinois who had their biometric identifiers or biometric
information, including faceprints, collected, captured, received, otherwise obtained, or
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disclosed by Onfido while residing in IIlinois.

The following people are excluded from the Class: (1) any Judge or Magistrate presiding over
this action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents,
successors, predecessors, and any entity in which the Defendant or its parents have a controlling
interest and its current or former officers and directors; (3) persons who properly execute and file
a timely request for exclusion from the Class; (4) persons whose claims in this matter have been
finally adjudicated on the merits or otherwise released; (5) Plaintiff's counsel and Defendant’s
counsel; and (6) the legal representatives, successors, and assigns of any such excluded persons.

42. | Numerosity: The exact number of Class members is unknown to Plaintiff at this
time, but it is clear that individual joinder is impracticable. Defendant has collected, captured,
received, or otherwise obtained biometric identifiers or biometric information from at least
hundreds of consumers who fall into the definition of the Class. Ultimately, the Class members
will be easily identified through Defendant’s records.

43. Commonality and Predominance: There are many questions of law and fact
common to the claims of Plaintiff and the Class, and those questions predominate over any
questions that may affect individual members of the Class. Common questions for the Class
include, but are not necessarily limited to the following:

a) whether Defendant collected, captured, or otherwise obtained Plaintiffs and
the Class’s biometric identifiers or biometric information;

b) whether Defendant properly informed Plaintiff and the Class of its purposes
for collecting, using, and storing their biometric identifiers or biometric
information;

c) whether Defendant obtained a written release (as defined in 740 ILCS 14/10)
to collect, use, and store Plaintiffs and the Class’s biometric identifiers or
biometric information;

d) whether Defendant has sold, leased, traded, or otherwise profited from

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Plaintiff's and the Class’s biometric identifiers or biometric information;

e) whether Defendant developed a written policy, made available to the public,
establishing a retention schedule and guidelines for permanently destroying
biometric identifiers and biometric information when the initial purpose for
collecting or obtaining such identifiers or information has been satisfied or
within three years of their last interaction, whichever occurs first;

f) whether Defendant complies with any such written policy (if one exists); and

g) whether Defendant used Plaintiffs and the Class’s faceprints or facial
geometry to identify them.

44. Adequate Representation: Plaintiff will fairly and adequately represent and
protect the interests of the Class and has retained counsel competent and experienced in complex
litigation and class actions. Plaintiff has no interests antagonistic to those of the Class, and
Defendant has no defenses unique to Plaintiff. Plaintiff and his counsel are committed to
vigorously prosecuting this action on behalf of the members of the Class and have the financial
resources to do so. Neither Plaintiff nor his counsel have any interest adverse to those of the
other members of the Class.

45, Appropriateness: This class action is appropriate for certification because class
proceedings are superior to all other available methods for the fair and efficient adjudication of
this controversy and joinder of all members of the Class is impracticable. The damages suffered
by the individual members of the Class are likely to have been small relative to the burden and
expense of individual prosecution of the complex litigation necessitated by Defendant’s
wrongful conduct. Thus, it would be virtually impossible for the individual members of the Class
to obtain effective relief from Defendant’s misconduct. Even if members of the Class could
sustain such individual litigation, it would not be preferable to a class action because individual
litigation would increase the delay and expense to all parties due to the complex legal and factual

controversies presented in their Complaint. By contrast, a class action presents far fewer

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management difficulties and provides the benefits of single adjudication, economies of scale, and
comprehensive supervision by a single court. Economies of time, effort, and expense will be

fostered and uniformity of decisions will be ensured.
CAUSE OF ACTION
Violation of 740 ILCS 14/1, et seq.
(On Behalf of Plaintiff and the Class)

46. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

47. The BIPA requires companies to obtain informed written consent from
individuals before acquiring their biometric data. Specifically, the BIPA makes it unlawful for
any private entity to “collect, capture, purchase, receive through trade, or otherwise obtain a
person’s or a customer’s biometric identifiers or biometric information, unless [the entity] first:
(1) informs the subject ... in writing that a biometric identifier or biometric information is being
collected or stored; (2) informs the subject ... in writing of the specific purpose and length of
term for which a biometric identifier or biometric information is being collected, stored, and
used; and (3) receives a written release executed by the subject of the biometric identifier or
biometric information....” 740 ILCS 14/15(b) (emphasis added).

48. | The BIPA also mandates that companies in possession of biometric data establish
and maintain a satisfactory biometric data retention (and—importantly—deletion) policy.
Specifically, those companies must: (1) make publicly available a written policy establishing a
retention schedule and guidelines for permanent deletion of biometric data (7.e., when the
business relationship ends); and (ii) actually adhere to that retention schedule and actually delete
the biometric information. See 740 ILCS 14/15(a).

49. Unfortunately, Onfido fails to comply with these BIPA mandates.

50. Defendant is corporation and thus qualifies as a “private entity” under the BIPA.

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See 740 ILCS 14/10.

S51. Plaintiff and the Class are individuals who had their “biometric identifiers”
collected by Onfido (in the form of their facial scans), as explained in detail in Section II. See
740 ILCS 14/10.

a Plaintiff's and the Class’s biometric identifiers or information based on those
biometric identifiers were used to identify them, constituting “biometric information” as defined
by the BIPA. See 740 ILCS 14/10.

53. Onfido violated 740 ILCS 14/15(b)(3) by failing to obtain written releases from
Plaintiff and the Class before it collected, used, and stored their biometric identifiers and
biometric information.

54. Onfido violated 740 ILCS 14/15(b)(1) by failing to inform Plaintiff and the Class
in writing that their biometric identifiers and biometric information were being collected and
stored.

55. Onfido violated 740 ILCS 14/15(b)(2) by failing to inform Plaintiff and the Class
in writing of the specific purpose and length of term for which their biometric identifiers or
biometric information was being collected, stored, and used.

56. Onfido violated 740 ILCS 14/15(a) by failing to publicly provide a retention
schedule or guideline for permanently destroying consumers’ biometric identifiers and biometric
information.

57. By collecting, storing, and using Plaintiff's and the Class’s biometric identifiers
and biometric information as described herein, Onfido violated Plaintiff’s and the Class’s rights

to privacy in their biometric identifiers or biometric information as set forth in the BIPA, 740

ILCS 14/1, et seq.

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58. | On behalf of himself and the Class, Plaintiff Fredy Sosa seeks: (1) injunctive and
equitable relief as is necessary to protect the interests of Plaintiff and the Class by requiring
Defendant to comply with the BIPA’s requirements for the collection, storage, and use of
biometric identifiers and biometric information as described herein; (2) liquidated damages of
$5,000 for each willful and/or reckless violation of the BIPA pursuant to 740 ILCS 14/20(2) or,
in the alternative, liquidated damages of $1,000 for each negligent violation of the BIPA
pursuant to 740 ILCS 14/20(1); and (3) reasonable attorneys’ fees, costs, and expenses pursuant
to 740 ILCS 14/20(3).

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Fredy Sosa, on behalf of himself and the Class, respectfully
requests that the Court enter an Order:

A. Certifying this case as a class action on behalf of the Class defined above,
appointing Plaintiff Fredy Sosa as a representative of the Class, and appointing his counsel as
Class Counsel;

B. Declaring that Defendant’s actions, as set out above, violate the BIPA;

C. Awarding statutory damages of $5,000 for each willful and/or reckless violation
of BIPA pursuant to 740 ILCS 14/20(2) or, in the alternative, statutory damages of $1,000 for
each negligent violation of BIPA pursuant to 740 ILCS 14/20(1);

D. Awarding injunctive and other equitable relief as is necessary to protect the
interests of the Class, including an Order requiring Defendant to collect, store, and use biometric
identifiers or biometric information in compliance with the BIPA;

E. Awarding Plaintiff and the Class their reasonable litigation expenses and

attorneys’ fees;

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F, Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent

allowable; and

G. Awarding such other and further relief as equity and justice may require.

JURY TRIAL

Plaintiff Fredy Sosa demands a trial by jury for all issues so triable.

Dated: June 12, 2020

Respectfully submitted,

FREDY SOSA, individually and on behalf of all
others similarly situated,

By: /s/_/s/Benjamin H. Richman
One of Plaintiff’s Attorneys

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